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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                     Chapter 7 (Involuntary)
    In re:
                                                                     Case No. 21-10849 (CSS)
    PARK PLACE DEVELOPMENT PRIMARY,
    LLC                                                              Objection Deadline:
                                                                     July 22, 2021 at 4:00 p.m. (ET)
                                Alleged Debtor.                      Hearing Date:
                                                                     August 18, 2021 at 11:00 a.m. (ET)


               MOTION FOR ENTRY OF AN ORDER DISMISSING THE
        INVOLUNTARY PETITION PURSUANT TO 11 U.S.C. 707(a) AND 305(a) OR,
              IN THE ALTERNATIVE, GRANTING RELIEF FROM THE
              AUTOMATIC STAY PURSUANT TO 11 U.S.C. 362(d)(1), (2)1




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      On July 6, 2021, the Alleged Debtor filed the Motion of the Alleged Debtor Pursuant to Sections 303 and 305 of
      the Bankruptcy Code for Dismissal of, or Abstention from, the Involuntary Bankruptcy Petition (the “AD
      Motion”). While the Lenders disagree with a number of the factual allegations in the AD Motion, the Lenders
      join in the Alleged Debtor’s arguments for dismissal of the Involuntary Petition.



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       Malayan Banking Berhad, New York Branch (the “Administrative Agent”), as

Administrative Agent for Malayan Banking Berhad, London Branch, Intesa Sanpaolo S.P.A., New

York Branch, Warba Bank K.S.C.P., and 45 Park Place Investments, LLC (collectively with the

Administrative Agent, the “Lenders”) hereby move (the “Motion”) for entry of an order (the

“Order”), substantially in the form attached hereto as Exhibit A, pursuant to sections 707(a),

305(a), 349(a), 362(d)(1) and 362(d)(2) of title 11 of the United States Code (the “Bankruptcy

Code”), (i) dismissing the involuntary petition (the “Involuntary Petition”) [Docket No. 1] filed

against Park Place Development Primary, LLC (the “Alleged Debtor”) by Permasteelisa North

America Corp. (“PNA”), Construction Realty Safety Group Inc. (“CRS”), Trade Off Plus, LLC

(“Trade Off Plus”), Domani Inspection Services, Inc. (“Domani”), S&E Bridge & Scaffold LLC

(“S&E”), and Ismael Leyva Architect, P.C. (“Ismael”) (collectively, the “Petitioning Creditors”)

for cause and with prejudice pursuant to section 349(a) or, in the alternative, (ii) granting relief

from the automatic stay. In support of this Motion, the Lenders submit the accompanying

Declarations of Matthew Parrott dated July 7, 2021, Ahmad Hamdi Bin Abdullah dated July 7,

2021, Justin Casson dated July 7, 2021 and the exhibits annexed thereto, and respectfully state as

follows:




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                                   PRELIMINARY STATEMENT

      1.        While the procedural posture of these cases are unique, the facts are not: indeed this
                                                                         2
Court dismissed a case very similar to this case three weeks ago. The Alleged Debtor is a single

purpose entity whose sole asset is a partially complete 43-story residential high-rise building that

serves as collateral for secured loans issued by the Lenders with a principal balance that far exceeds

the value of the Property. Moreover, the Alleged Debtor has been in default on such loans for more

than two years and a foreclosure action has been proceeding in state court for more than a year. A

receiver has been appointed to safeguard the Property and the only source of funding to preserve

and protect the property has been protective advances made by the Lenders at the request of the

receiver. This Petition was filed by creditors – who have been actively involved in foreclosure

litigation – on the eve of their response deadline for the Lenders’ motion for summary judgment

for the sole purpose of gaining a tactical advantage in litigation. That is plainly an improper use

of the bankruptcy process and this case should be dismissed.

      2.        More specifically, on March 11, 2020, the Lenders commenced a commercial

mortgage foreclosure action in the Supreme Court of the State of New York County of New York,

and the state court immediately thereafter appointed a receiver to protect, preserve, and maintain

the Property. Between June 2020 and December 2020, the Petitioning Creditors filed answers with

cross-claims and counterclaims, and on January 22, 2021, the Lenders moved for summary

judgment. On May 24, 2021, after actively litigating in the state court action for over a year, the




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    In re GVS Portfolio I B , LLC, Bankr. D. Del. No. 21-10690 (CSS), 2021 Bankr. LEXIS 1513 (June 4, 2021).

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Petitioning Creditors commenced this involuntary chapter 7 case two days before their response

was due to the Lenders’ motion for summary judgment.

      3.        The Petitioning Creditors are a group of disgruntled mechanic’s lienors that are no

doubt owed significant sums by the Alleged Debtor, and have engaged in a scorched earth litigation

strategy to frustrate and delay the Lenders’ efforts to foreclose on the Property. If the Lenders are

successful in the foreclosure action, the mechanics lienors’ liens will be extinguished and their

prospect for recovery is slim. While that is unfortunate, it is the result of the relative priorities of

the Lenders’ liens and the mechanics lienors’ liens and the value of the Property.

      4.        The Involuntary Petition should be dismissed for three reasons: (1) the Involuntary

Petition was filed in bad faith as a litigation tactic on the eve of the Petitioning Creditors’ deadline

to respond to the Lenders’ Motion for Summary Judgment; (2) the Alleged Debtor does not have

any cash or unencumbered assets to distribute to unsecured creditors or to pay professionals such

as a chapter 7 trustee; and (3) the preservation of the Alleged Debtor’s sole asset, a partially

complete 43 story residential high rise, requires significant capital expenditures and the Alleged

Debtor lacks any cash or assets to preserve the Property. For the same reasons, even if the

Involuntary Petition is not dismissed, relief from stay should be granted to permit the Lenders to

continue the foreclosure action.

                                          JURISDICTION


      5.        This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this district pursuant

to 28 U.S.C. §§ 1408 and 1409.


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      6.       The statutory predicates for the relief sought herein are sections 707(a), 305(a), and

362(d)(1),(2) of the Bankruptcy Code and the related Federal Rules of Bankruptcy Procedures (the

“Bankruptcy Rules”), including Bankruptcy Rules 1017, 2002, 4001 and 9014, and Local Rule

4001-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware.

                                        BACKGROUND


I.      Overview of the Property and the Project

      7.       The Alleged Debtor is the fee owner of real property located in New York County,

commonly known as 43 Park Place, located at 43 Park Place, New York, New York 10007 (Block

126, Lot 8) (the “Property”). Parrot Decl., Ex. A.

      8.       The Alleged Debtor is a single purpose entity that has no assets other than its

interest in the Property and the Project (defined below). Parrot Decl., Ex. A., § 3.1(gg) (“Each of

Obligor and Sole Member is, and at all times during the term of the Facility shall remain, a Single

Purpose Entity.”); § 3.2 (listing requirements of Single Purpose Entity).

      9.       The Alleged Debtor obtained financing from the Lenders to complete a 43 story

mixed-use condominium tower that is to have approximately 111,933 saleable square feet of

residential space containing fifty (50) residential condominium units, approximately 1,129 square

feet containing retail condominium units, and 413 square feet of storage space containing

approximately 19 storage units (the “Project”). Parrot Decl., Ex. A.

      10.      The Project is not complete and is not generating any income. Although the vertical

construction of all 43 stories has been completed and the building has been topped out, the curtain


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wall for the building has not been completed. Casson Decl., Ex. B. The estimated cost to complete

construction of the project is approximately $83,772,202 million. Casson Decl., Ex. B.

         11.        Pursuant to an appraisal obtained by the Lenders dated as of July 2, 2021, the

Property is valued at approximately $87,900,000. Casson Decl., ¶ 11 & Ex. B.

II.        The Facility Agreements

         12.        The Alleged Debtor obtained financing from the Lenders in the maximum

aggregate principal amount of up to $174,000,000.00, consisting of: (i) the Building Facility

Agreement pursuant to which the Alleged Debtor borrowed up to a maximum principal amount of

$162,112,896.16 (the “Building Facility”) and (ii) the Project Facility Agreement pursuant to which

the Alleged Debtor borrowed up to a maximum principal amount of $11,887,103.84 (the “Project

Facility,” and together with the Building Facility, the “Facility”). Parrott Decl., ¶ 4 & Exs. A, D.

Both the Building Facility and Project Facility were evidenced by notes and secured by a duly

recorded mortgage. Parrott Decl., ¶ 4 & Exs. B, C, E, F.

         13.        As of June 1, 2021, the amount owed by Alleged Debtor has grown to

$130,856,015.18 (the “Loan Balance”), which includes, among other things, the Protective
                                                                                                   3
Advances (defined below) and the costs and expenses associated with the state court action.

Abdullah Decl. ¶ 5 & Ex. A.

III.       The Default under the Facility Agreements

         14.        Section 5.3(a) of the Building Facility Agreement states that “the term of the

Facility shall expire on the Termination Date, at which time the unpaid Deferred Sales Price and



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       See Building Facility Agreement 13.1(n).

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all other sums due and payable under the Notes and the other Facility Documents, shall be paid in

full.” Parrott Decl., ¶ 4 & Ex. A. Pursuant to the Building Facility Agreement, the Termination

Date was April 26, 2019. Id. Accordingly, on April 26, 2019 the Alleged Debtor was obligated to

pay in full all sums due and payable under the notes and the other Facility Documents (the

“Maturity Amount”). Id.

        15.       The Alleged Debtor failed to repay the Maturity Amount on the Termination Date,

which constituted an event of default under the Facility Agreement and mortgages. Parrott Decl.

¶ 5 & Ex. G. The Lenders provided notice of this event of default on or about April 29, 2019. Id.

The mortgages further provide that the Administrative Agent shall be entitled to exercise its rights

and remedies under the mortgages, specifically the Administrative Agent “shall have the right to

foreclose this Mortgage” and compel an auction of the mortgaged property. Parrott Decl. ¶ 5 &

Ex. C.

IV.       The New York State Court Foreclosure Action

        16.       On or about March 11, 2020, as a result of the Alleged Debtor’s default under the
                                                                                   4
governing Facility Documents, the Administrative Agent commenced an action in New York State

Court (the “State Court”) bearing caption Malayan Banking Berhad, et al v. Park Place

Development Primary LLC, et al, Index No. 850083/2020 (the “Mortgage Foreclosure Action”).

Parrott Decl. ¶ 6 & Ex. H. The parties to the Mortgage Foreclosure Action includes the Alleged

Debtor and all but one of the Petitioning Creditors. Id. That creditor – Domani – is not a named




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      The complaint was amended by the Lenders on July 14, 2020.

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defendant in the Mortgage Foreclosure Action; however, it appears from the Involuntary Petition

that Domani’s owner also owns Trade Off Plus and CRS, two of the defendants named in the

Mortgage Foreclosure Action.

      17.       In the Mortgage Foreclosure Action, the Lenders seek to enforce the terms of the

Facility Agreements and foreclose upon the mortgages executed in connection therewith following

the Alleged Debtor’s defaults under the Facility Agreements, and obtain other related relief. Id.

      18.       The Petitioning Creditors have been actively participating in the Mortgage

Foreclosure Action and have filed answers with cross-claims and counterclaims. Parrott Decl. ¶¶

8-11 & Exs. J-M.

V.      State Court Appointed Receiver

      19.       On March 13, 2020, the Lenders moved for an Ex Parte Order Appointing a

Temporary Receiver (the “Receiver”) to protect the Property. Parrott Decl. ¶ 7 & Ex. I. The State

Court found that there was sufficient evidence “to justify the appointment of a Temporary Receiver

and that the appointment of a Temporary Receiver is necessary to ensure the mortgaged property

and collateral is not lost or materially injured . . . .” Id.

      20.       The State Court granted the Receivership Order appointing Scott E. Mollen, Esq.

as Receiver. Id. The Receiver is tasked with protecting and preserving the value of the collateral

under the Facility Agreements (i.e., the Mortgaged Property). Id.

      21.       Given that the Alleged Debtor has no other assets and the Project is not generating

any income in its current state, and despite requests from the Receiver and the Lenders that the

Alleged Debtor make the payments, the Receiver has had to rely on protective advances from the

Lenders. Abdullah Decl. ¶ 6 & Ex. B. Those protective advances have been used to pay for

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insurance premiums at the Property, security for the Property, and to pay certain funds owed to the

New York City taxing authorities to have the Property removed from the tax lien sale list. Id.

      22.      As of June 1, 2021, the Lenders have provided $1,076,863.05 in protective

advances. Id. The Lenders anticipate needing to provide additional protective advances over the

next six months in the amount of $689,359.81. Abdullah Decl. ¶ 6 & Ex. C.

VI.     Motion for Summary Judgment

      23.      On January 22, 2021, the Lenders moved for summary judgment (the “Summary

Judgment Motion”) against the various defendants that had answered the operative pleading

(including the Alleged Debtor and the Petitioning Creditors). Parrott Decl. ¶ 12 & Ex. N. The

Summary Judgment Motion expressly addressed the issue of the priority of the mechanic’s liens,

and addressed why those liens were subordinate to the mortgage. Id.

      24.      On March 5, 2021, pursuant to the State Court’s direction, the parties submitted a

proposed briefing schedule with respect to the various pending motions and certain anticipated

motions. Parrott Decl. ¶ 13 & Ex. O. Counsel for the Petitioning Creditors agreed to and signed

the proposed briefing schedule. On or about March 8, 2021, the State Court so-ordered the

stipulated briefing schedule. Id.

      25.      The proposed briefing schedule fixed May 26, 2021 as the deadline for the Alleged

Debtor and the Petitioning Creditors to respond to the Summary Judgment Motion and file any

cross-motions. Id. Rather than respond to the Summary Judgment Motion, on May 24, 2021, the

Petitioning Creditors filed this Involuntary Petition against the Alleged Debtor.




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                                     RELIEF REQUESTED


      26.       By this Motion, the Lenders seek entry of an order pursuant to sections 707(a) of

the Bankruptcy Code dismissing the Involuntary Petition for cause and pursuant to section

305(a)(1) of the Bankruptcy Code because dismissal best serves the interests of the creditors and

the Alleged Debtor. The Lenders also respectfully requests that the dismissal be with prejudice

pursuant to section 349(a) of the Bankruptcy Code because it is in the best interest of the Alleged

Debtor and its creditors. In the alternative, the Lenders seeks entry of an order granting relief from

the automatic stay with respect to the Property pursuant to section 362(d)(1),(2) so as to permit the

Lenders to exercise their state-law rights and remedies against the Alleged Debtor, including the

right to complete the Mortgage Foreclosure Action.

                                       BASIS FOR RELIEF


I.      Creditors May File a Motion to Dismiss Pursuant to Sections 305(a) and 707(a) of
        the Bankruptcy Code

      27.       While creditors may not contest the filing of an involuntary petition under section

303, courts have held that a creditor can file a motion to dismiss pursuant to sections 305(a) and

707(a). See In re Jr. Food Mart, Inc., 234 B.R. 420, 421 (Bankr. E.D. Ark. 1999); In re MacFarlane

Webster Assocs., 121 B.R. 694, 696-697 (Bankr. S.D.N.Y. 1990); 2 Collier on Bankruptcy ¶ 303.20

(16th 2021) (“Although creditors cannot answer a petition directly, they are not precluded from

other types of responses that could yield the same ultimate outcome, such as seeking dismissal of

the involuntary petition under section 305, 707(a) or 1112(b).”). Further, unlike section 707(a)(3),

the wording of sections 305(a) and 707(a) includes both voluntary and involuntary petitions.


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MacFarlane, 121 B.R. at 696-67. Thus, a creditor may file a motion to dismiss an involuntary

petition. Id

II.     This Case Should Be Dismissed with Prejudice For “Cause” Pursuant to Section
        707(a) of the Bankruptcy Code Because the Involuntary Petition Was Not Filed in
        Good Faith

      28.       Pursuant to section 707(a), “the court may dismiss a case under this chapter only

after notice and a hearing and only for cause . . . .” 11 U.S.C. 707(a). The Third Circuit has held

that an involuntary chapter 7 petition can be dismissed for “cause” if the petition was not filed in

good faith. See Tamecki v. Frank (In re Tamecki), 229 F.3d 205, 207 (3d Cir. 2000). When

evaluating a petitioning creditor’s good faith, the Third Circuit considers the totality of the

circumstances and will consider a range of factors, including whether the involuntary petition was

filed for a valid bankruptcy purpose and whether the petition was filed to obtain a tactical litigation

advantage. In re Forever Green Ath. Fields, Inc., 500 B.R. 413, 425-427 (Bankr. E.D. Pa. 2013).

        A.      The Involuntary Petition Serves No Valid Bankruptcy Purpose

      29.       For a petition to be filed in good faith, the Third Circuit has found that the petition

must serve a valid bankruptcy purpose. NMSBPCSLDHB, L.P. v. Integrated Telecom Express, Inc.

(In re Integrated Telecom Express, Inc.), 384 F.3d 108, 129 (3d Cir. 2004). The purpose of a chapter

7 case is to consolidate a debtor’s assets to preserve value and fairly distribute that value to the

debtor’s creditors. Forever Green, 500 B.R. at 425. Thus, the involuntary chapter 7 petition must

seek “to create or preserve some value that would otherwise be lost-not merely distributed to a

different stakeholder-outside of bankruptcy.” Id. If the Alleged Debtor has no assets that can be

easily liquidated, then it may not be possible to meaningfully proceed under chapter 7. See In re

Systems Communications, Inc., 234 B.R. 145, 148 (Bankr. M.D. Fla. 1999).

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      30.       The bankruptcy court’s decision in Forever Green and this Court’s decision in GVS

are instructive. In Forever Green, the petitioning creditors filed an involuntary chapter 7 petition

against Forever Green. 500 B.R. at 416. Forever Green filed a motion to dismiss arguing that it

was filed for an improper purpose and in bad faith. Id. at 418. The bankruptcy court agreed and

dismissed the petition. Id. at 430. After considering the totality of the circumstances, the court

found that the alleged debtor did not have any assets to liquidate and that forcing the alleged debtor

into bankruptcy would not preserve value or maximize distribution to Forever Green’s creditors.

Id. at 430.

      31.       In GVS, the debtor filed a chapter 11 case on the eve of a foreclosure sale. Lexis

1513, at *11. A creditor filed a motion to dismiss arguing that the case was not filed in good faith.

Id. at *12. The creditor asserted that the filing served no valid bankruptcy purpose because the

debtor was not capable of reorganizing and the case would not maximize the value of the debtor’s

estate. Id. at *16. Further, the creditor argued that the only purpose of the filing was to stall the

foreclosure of the property. Id. This Court agreed and dismissed the case, finding that the petition

was a litigation tactic used to avoid the state foreclosure action and that the petition served no valid

bankruptcy purpose. Id. at *21.

      32.       Here, like in Forever Green and GVS, the Petitioning Creditor’s purpose in filing

the Involuntary Petition is not to preserve value that would otherwise be unavailable outside of

bankruptcy. Instead, the Involuntary Petition advances an improper goal: to obtain the benefit of

the automatic stay to avoid responding to the Lender’s Motion for Summary Judgment and further

delay the state-law foreclosure process.



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       33.     The Alleged Debtor is a single purpose entity that has no assets other than its

interest in the Property. However, the Alleged Debtor has no interest in the Property because the

Property is currently valued at $87,900,000·, and the Alleged Debtor owes not less than

$130,856,015.18 to the Lenders under the Facility Agreements. Accordingly, the Alleged Debtor

has no assets “to marshal . . . in order to achieve a greater pro rata distribution among a debtor's

various unsecured creditors than what would be otherwise available outside of bankruptcy.” Id. at

425.

       34.     Additionally, the Alleged Debtor has been unable to provide the funds necessary to

preserve the Property, and as a result, the Lenders have been burdened with protective advance

payments in the approximate amount of 1,076,863.05. The Lenders estimate that the protective

advances required to preserve the Property over the next six months will be no less than

$689,359.81. The bankruptcy estate does not have the financial resources necessary to preserve

the Property to the conclusion of a chapter 7 proceeding. As the court in Forever Green explained,

when forcing a debtor into bankruptcy does not maximize the distribution of assets, courts have

dismissed the involuntary petition. See id. at 430.

       35.     Moreover, the typical protections provided by a bankruptcy filing to preserve the

value of assets are unnecessary and duplicative. See e.g. In re O’Neil Vill. Pers. Care Corp., 88

B.R. 76, 80 (Bankr. W.D. Pa. 1988) (finding the need for a chapter 7 trustee duplicative when a

state court appointed receiver was already in place). The Receiver appointed in the State Court

action was appointed with the power and authority to “preserve and conserve the Mortgaged

Property, including without limitation taking any and all steps necessary to protect, preserve, and

maintain” the various rights and entitlements associated with the Property.” Parrott Decl. ¶ 7 &

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Ex. I. The Receiver has been carrying out its responsibilities to preserve the Property since March

12, 2020.

        B.      The Involuntary Petition Was Filed in Bad Faith and Is Nothing More than a
                Litigation Tactic

      36.       Courts have found evidence of bad faith when the petitioning creditor was actively

litigating in an alternative forum but filed an involuntary petition within weeks of an adverse

decision. See generally In re Skyworks Ventures, Inc., 431 B.R. 573, 579 (Bankr. D. N.J. 2010);

see also In re Silverman, 230 B.R. 46, 52 (Bankr. D. N.J. 1998). Other courts have utilized an

“improper purpose test” and have found a petition to be filed in bad faith when the petitioning

creditor used the involuntary petition as a litigation tactic, “particularly when the petitioner could

have advanced its own interests in a different forum.” See Lubow Machine Co. v. Bayshore Wire

Prods. (In re Bayshore Wire Prods.), 209 F.3d 100, 105 (2d Cir. 2000). Further, as this Court noted

in GVS, a case “is filed in bad faith if the petition is filed merely to obtain a tactical litigation

advantage.” In re GVS Portfolio I B , LLC, 2021 Bankr. LEXIS 1513, at *21 (internal citations and

quotations omitted) (dismissing a chapter 11 case filed on the eve of a foreclosure sale).

      37.       For example, in Forever Green, instead of filing a pleading by the response deadline

in the state court action, the petitioning creditors filed the involuntary petition a week before their

memorandum in opposition was due. 500 B.R. at 424. The court found that the petitioner’s use of

the involuntary petition as “a tactical advantage in pending litigation” evidenced an improper use

of the bankruptcy system. Id. at 427.

      38.       Here, the Petitioning Creditors filed the Involuntary Petition as a litigation tactic to

escape the Lenders’ Motion for Summary Judgment and relocate to what they hope will be a


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friendlier forum. As noted above, the Petitioning Creditors have been actively litigating in the

Foreclosure Action for more than a year and filed the Involuntary Petition two days before their

response was due on the Summary Judgment Motion. Instead of litigating their disputes in the

State Court action as they have done for the last year, the Petitioning Creditors now seek an

alternative forum to resolve their disputed claims. That is an improper use of the bankruptcy

system “particularly when the petitioner could have advanced its own interests in a different

forum.” See In re Bayshore Wire Prods., 209 F.3d at 105 (internal citations and quotations omitted).

       39.      Further, any dispute as to the priority of liens would have to be resolved in the

bankruptcy court though an adversary proceeding that mirrors the action already set for resolution

in the State Court proceeding. To proceed in bankruptcy and start anew with the very same

arguments would be duplicative, unnecessary, and a waste of judicial resources.

       40.      Because the Involuntary Petition was not for a valid bankruptcy purpose and as a

litigation tactic, the Involuntary Petition was not filed in good faith and should be dismissed for

cause under section 707(a).

III.    The Court Should Abstain From Exercising Its Jurisdiction Over This Chapter 7
        Case and Dismiss It Pursuant to Section 305(a) of the Bankruptcy Code

       41.      Pursuant to section 305(a) of the Code, “the court, after notice and hearing, may

dismiss a case under this title . . . at any time if — (1) the interest of the creditors and the debtor

would be better served by such dismissal or suspension.” 11 U.S.C. 305(a). Courts look to a

number of established criteria in determining whether abstention would “better serve” the interests

of the debtor and creditors. These factors include:

        (1) the economy and efficiency of administration; (2) whether another forum is
        available to protect the interests of both parties or there is already a pending

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        proceeding in state court; (3) whether federal proceedings are necessary to reach a
        just and equitable solution; (4) whether there is an alternative means of achieving
        an equitable distribution of assets; (5) whether the debtor and the creditors are able
        to work out a less expensive out-of-court arrangement which better serves all
        interests in the case; (6) whether a non-federal insolvency has proceeded so far in
        those proceedings that it would be costly and time consuming to start afresh with
        the federal bankruptcy process; and (7) the purpose for which bankruptcy
        jurisdiction has been sought.

In re Amc Investors, LLC, 406 B.R. 478, 488 (Bankr. D. Del. 2009) (citations omitted). When

conducting an abstention analysis, courts group together factors 1-6 because each of those factors

focus on the availability of an alternate forum to efficiently achieve an equitable distribution. In

re Navient Solutions, LLC, 625 B.R. 801, 820 (Bankr. S.D.N.Y. 2021) (citations omitted); see e.g.

Amc Investors, 406 B.R. at 487-89 (applying the relevant factors together for purposes of the

abstention analysis).


        A.      Factors 1-6: There is an Alternate Forum to Efficiently Achieve an Equitable
                Distribution of the Alleged Debtor’s Single Asset

      42.       When considering whether abstention is appropriate and in the best interest of the

Alleged Debtor and its creditors, courts consider “whether another forum is available to protect the

interest of [the] parties or there is already a pending proceeding in state court.” In re 801 S. Wells

St. Ltd. Pshp., 192 B.R. 718, 723-724 (Bankr. N.D. Ill. 1996). Courts have found that an alternative

forum is sufficient when there is a pending action “that will equitably satisfy the creditors and not

be unduly burdensome or prejudicial to the debtor, so that continuation of the bankruptcy

proceeding will be duplicitous and uneconomical.” Navient Solutions, LLC, 625 B.R. at 820

(internal quotations omitted). Further, courts have found that it is not necessary that the alternate

forum be as “expeditious or result in as a favorable an outcome to the Petitioning Creditors” to be

sufficient. Id. at 821.
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     43.       For example, in Newbury Operating LLC, the court found dismissal appropriate

because of the following:

               First, this Court is not the most economical and efficient forum in
               which to resolve this dispute because, among other things, as
               discussed above, neither the Alleged Debtor, nor its three creditors
               need relief under the Bankruptcy Code. (Factor 1). The Debtor is not
               operating, has de minimis assets (if any) and does not qualify for a
               bankruptcy discharge. The creditors do not require the protection of
               the automatic stay. Moreover, the Landlord can get all the protection
               it needs in State Court, and that court is the most economical and
               efficient forum in which to resolve the Landlord’s dispute with the
               Alleged Debtor.

       44.     In re Newbury Operating LLC, Bankr. S.D.N.Y. No. 20-12976-JLG, 2021 Bankr.

 LEXIS 773, at *38-39 (Mar. 25, 2021). Further, the court in Newbury Operating found the

 landlord’s inability to show why it could not “obtain substantially the same relief in the State

 Court Action” as further support for abstention. Id. at *40.

       45.     Here, like in Newbury Operating, the bankruptcy court is not “the most economical

 and efficient forum to resolve this dispute” because neither the Alleged Debtor nor the Petitioning

 Creditors “need relief under the Bankruptcy Code.” Id. at *38-39. There is already a pending

 proceeding in State Court that will efficiently achieve an equitable distribution of the Alleged

 Debtor’s single asset. Over the last year, the Lenders and Petitioning Creditors have been actively

 litigating in the Mortgage Foreclosure Action in State Court. As stated above and is relevant to

 the determination of abstention, the Petitioning Creditors have filed answers with cross-claims

 and counterclaims with respect to the Lenders’ complaint in the Mortgage Foreclosure Action.

 Further, the Petitioning Creditors agreed to and signed the proposed briefing schedule for the

 Summary Judgment Motion, specifically agreeing to respond to the Summary Judgment Motion


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 by May 26, 2021. Were it not for the filing of the Involuntary Petition, the case in State Court

 would be proceeding towards a resolution. It would be a waste of resources to begin anew in

 another forum when the issues raised by the Petitioning Creditors are already being considered

 in the State Court action. Thus, if an order for relief is granted, the “continuation of the

 bankruptcy proceeding will be duplicitous and uneconomical.” In re 801 S. Wells St. Ltd. Pshp.,

 192 B.R. 718, 724 (Bankr. N.D. Ill. 1996) (internal quotations omitted).

      46.      Further, like in Newbury Operating LLC, the Petitioning Creditors cannot

demonstrate why they cannot obtain the same relief in the State Court action. In fact, they have

already filed their initial arguments with the State Court, and the Petitioning Creditors further

stipulated to a briefing schedule that would efficiently resolve the disputed issues. However,

instead of taking advantage of the response period to make their arguments, the Petitioning

Creditors sat idly by allowing months to pass before filing this Involuntary Petition.

      47.      Additionally, the New York State Court is well-suited to resolve disputes as to liens

and priority pursuant to New York lien law, so a federal proceeding is not necessary to reach a just

and equitable solution. Thus, the Petitioning Creditors can obtain the same relief requested here in

that forum.

        B.     Factor 7: The Involuntary Petition was Filed for an Improper Purpose

      48.      As stated above and is again relevant to the abstention analysis, the Involuntary

Petition was filed for an improper purpose. See supra at II.A.¶¶ 29-34. The Alleged Debtor has

no equity in the Property and no other assets in which to derive value for its creditors. Proceeding

in bankruptcy will only diminish the value of the Alleged Debtor’s single asset and will not lead to

“a greater pro rata distribution among a debtor’s various unsecured creditors than what would be

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otherwise available outside of bankruptcy.” Forever Green, 500 B.R. at 425. The Involuntary

Petition was filed merely as a litigation tactic to avoid responding to the Summary Judgment

Motion in the Mortgage Foreclosure Action.

        49.        Thus, to the extent the Court does not dismiss the chapter 7 case pursuant to section

707(a), the Lenders submit that the Court should nonetheless abstain from exercising its

jurisdiction over this chapter 7 case and dismiss it pursuant to section 305(a)(l) of the Bankruptcy

Code.

IV.       Dismissal of the Involuntary Petition Should Be With Prejudice to Pursuant to
          Section 349(a)

        50.        Pursuant to section 349(a) of the Bankruptcy Code, “[u]nless the court, for cause,

orders otherwise, the dismissal of a case under this title does not . . . prejudice the debtor with

regard to the filing of a subsequent petition under this title . . . .” 11 U.S.C. § 349(a). Courts have

found cause for dismissal with prejudice when a petition “was filed in bad faith and for no

legitimate bankruptcy purpose.” In re Jer/Jameson Mezz Borrower II, LLC, 461 B.R. 293, 304

(Bankr. D. Del. 2011).

        51.        Here, the Court should dismiss the Involuntary Petition with prejudice to prevent

the Alleged Debtor and its creditors from filing successive petitions in this or another jurisdiction

and further preventing consideration of the Lenders’ Summary Judgment Motion in the Mortgage
                         5
Foreclosure Action. The Mortgage Foreclosure Action has been pending for over a year, and




5
      On June 4, 2021, this Court dismissed the GVS case for having been filed in bad faith without prejudice. On
      June 17, 2021, the debtor then filed a chapter 11 case in the Northern District of Texas further delaying the
      foreclosure sale in that case.

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significant resources have been expended by the Lenders to preserve the value of the Alleged

Debtor’s only asset, the Property. Further, as a single purpose entity with its only asset burdened

by secure loans that exceed its value, the Alleged Debtor has no unencumbered assets to distribute

to its creditors. Thus, any additional attempts to stall the Mortgage Foreclosure Action will only

decrease value as opposed to maximizing it for the benefit of creditors.

       52.        Accordingly, the Lenders respectfully submit that the Court should order dismissal

of the Involuntary Petition with prejudice and enjoin any further filings by the Alleged Debtor and

the Petitioning Creditors to prevent any further harm to the Lenders and the Property.
                                                                                   6
V.       The Court Should Grant Relief from the Automatic Stay

       53.        While we believe there is more than sufficient cause for dismissal of this case, in

the event the Court is inclined to allow the case to continue, the Court should grant relief from the

automatic stay. Pursuant to section 362(1), the bankruptcy court “shall” grant relief from the

automatic stay on request of a party in interest “for cause, including the lack of adequate protection

of an interest in property of such party in interest . . . .” 11 U.S.C. § 362(d)(l). Further, pursuant

to section 362(d)(2), the bankruptcy court must lift the stay of an act against property if “the debtor

does not have an equity in such property” and the “property is not necessary to an effective

reorganization.” 11 U.S.C. § 362(d)(2). However, in a chapter 7 case, the second prong of section




6
     The Lenders submit that section 362(d)(3) is also applicable to this case. See e.g. Suntrust Bank v. Glob. One,
     L.L.C. (In re Glob. One, L.L.C), 411 B.R. 524, 528-29 (Bankr. S.D. Ga. 2009); Riggs Bank, N.A. v. Planet 10,
     L.C. (In re Planet 10, L..C.), 213 B.R. 478, 480 (Bankr. E.D. Va. 1997). Thus, the Court will be required to
     grant relief from the automatic stay “90 days after the entry of the order for relief” because the Alleged Debtor,
     with no cash from operations and no unencumbered assets, will be unable to make interest payments to the
     Lenders. 11 U.S.C. 362(d)(3).

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362(d)(2) is not applicable. See 1 Collier Lending Institutions & Bankruptcy Code ¶ 4.02 (2020)

(“In a chapter 7 case, the two pronged test has only one prong, because no property is necessary to

an effective reorganization in chapter 7. . . .”).

         A.     The Involuntary Petition was Filed in Bad Faith and Is Cause for Stay Relief

        54.     Courts have found that a case filed in bad faith is cause for relief from the automatic

stay.    Mother African Union Methodist Church v. Conference of AUFCMP Church (In re

Conference of African Union First Colored Methodist Protestant Church), 184 B.R. 207, 218

(Bankr. D. Del. 1995); see also In re Lippolis, 228 B.R. 106, 112 (E.D. Pa. 1998).

        55.     As shown above, the Petitioning Creditors filed the Involuntary Petition in bad faith

two days before their response was due on the Summary Judgment Motion, and the Alleged Debtor

has no equity in the Property. See supra at II.B.¶¶ 35-39. Accordingly, the Lenders respectfully

submit that cause exists to lift the automatic stay to permit the Lenders to proceed with the

Mortgage Foreclosure Action.

         B.     There is Cause to Lift they Stay Because the Lenders Lack Adequate
                Protection

        56.     The automatic stay should be lifted because Lenders’ interest in the Property is not

adequately protected. 11 U.S.C. § 362(d)(1). Courts have found that a debtor’s “equity cushion”

in the collateral may adequately protect a creditor’s interest. In re Reinhardt, 27 B.R. 2, 4 (Bankr.

M.D. Pa. 1982). Conversely, the lack of an equity cushion in the collateral is “sufficient for

granting relief” from the automatic stay. See In re Bobroff, 32 B.R. 930, 931 (Bankr. E.D. Pa.

1983).

        57.     As noted throughout, pursuant to an appraisal obtained by the Lenders dated as of

July 2, 2021, the Property is valued at approximately $87,900,000. As of June 1, 2021, the Alleged
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Debtor’s Loan Balance has grown to $130,856,015.18, which does not include, among other things,

the Protective Advances and the costs and expenses associated with the State Court action. Thus,

the Alleged Debtor does not have an equity cushion in the Property to protect the Lenders’ interests.

Further, the Alleged Debtor has not made and has no funds to make any of the payments necessary

to preserve and protect the Property such as insurance, taxes and security despite requests from the

Receiver and the Lenders. Given that the Alleged Debtor has no other assets and the Project is not

generating any income in its current state, the Alleged Debtor cannot provide any form of adequate

protection. Accordingly, since the Lenders’ interest in the Property is not adequately protected, the

Lenders are entitled to relief from the automatic stay pursuant to section 362(d)(1). Further, the

Alleged Debtor’s lack of equity in the Property also entitles the Lenders to relief from the automatic

stay pursuant to section 362(d)(2).

                                              NOTICE


      58.       Notice of this Motion has been provided to (a) counsel for the United States Trustee

for the District of Delaware, (b) counsel for the Alleged Debtor, (c) counsel for the Petitioning

Creditors, and (d) all parties who have filed appearances in the involuntary chapter 7 case. The

Lenders submit that no other or further notice is necessary under the circumstances.

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                                          CONCLUSION

       WHEREFORE, the Lenders respectfully request entry of an Order, substantially in the

form attached hereto as Exhibit A, pursuant to sections 707(a), 305(a), 349(a), 362(d)(1) and

362(d)(2) of the Bankruptcy Code, (i) dismissing the Involuntary Petition for cause and with

prejudice or, in the alternative, (ii) granting relief from the automatic stay.

Dated: July 8, 2021                    /s/ Laura Davis Jones
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